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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

 

Case No, 22-20243

Plaintiff,
HON. SEAN F, COX
VS.
KYLE HOBBS,
Defendant.

WAIVER OF INDICTMENT
I, KYLE HOBBS, the defendant in this case, understand that I am being
charged with the following felony: Receipt of Child Pornography (18 U.S.C.
Section 2252A(a)(2)(A)). I have been informed and understand that any person
charged with a federal felony offense has the right to insist that the case proceed by
way of an indictment returned by a grand jury. Understanding this, and pursuant to
Rule 7(b) of the Federal Rules of Criminal Procedure, I hereby waive any right to

prosecution by indictment and consent that the prosecution may be brought by

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Wl MW.
KYLEHOBBS
Defendant _,

information instead of by indictment.

   

Dated: 4-7-22

 

Samuel J. Bennett
Attorney for Defendant

 
